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                  Exhibit 1a
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                                              July 7, 2022

VIA EMAIL ONLY


                                                       Re: House Bill 1775 - Complaint

Dear           :

        The Oklahoma State Department of Education (“State Department”) is in receipt of your
written complaint (the “Complaint”), concerning alleged violations of the prohibited concepts set
forth in House Bill 1775 (2021), codified at 70 O.S. § 24-157 (the “Statute”), as well as an
administrative rule (the “Rule”) corresponding thereto. A copy of the Complaint, Statute and Rule
are enclosed. Generally, the Complaint identifies two issues regarding Tulsa Public Schools
(“District”) allegedly violating the Statute, those being:

       1. not providing information and awareness regarding resources, policies and procedures for
          how individuals may file a complaint with the District, alleging a violation of the Statute;
          and
       2. a mandatory training was provided by the District to its employees, which included,
          incorporated or was based on discriminatory practices prohibited by the provisions of the
          Statute.

        The State Department has completed its investigation into the allegations in the Complaint.
As set forth in detail below, the State Department is unable to substantiate the first portion of the
Complaint regarding an alleged procedural violation but does substantiate the second of the
allegations, that concerning a mandatory staff training.

       Relating to the first allegation, the Rule provides:

       (g) Public School Policies and Investigations. To ensure compliance, public
       schools shall be required to adopt policies and procedures, including incorporating
       into employee and student handbooks, the requirements of 70 O.S. § 24-157(B) and
       this rule. A public school’s policy developed pursuant to this section must
       specifically notify individuals of the right to file complaints under subsection (g) of
       this rule. Public schools shall ensure that the parent or legal guardian of all students
       enrolled in the school are annually notified of the non-discrimination requirements
       in 70 O.S. § 24-157(B) and this rule.
       Oklahoma Administrative Code (“OAC”) 210:10-1-23(g).


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The Rule also requires public schools to develop a process for students, parents, teachers, school
staff, and members of the public to file a complaint alleging a violation of the provisions of the Statute
and/or the Rule. Id. In the Complaint, it is alleged that “after searching for over an hour” you were
unable to find any resources or information on how to report violations to the District. The State
Department’s review of the District’s website demonstrates the District is in compliance with
requirements in the Rule. On its website, the District houses its Board Policy Manual1, which includes
Policy 3405 and associated regulation 3405-R. The policy was put in place to “establish guidelines
for discussing controversial issues and using controversial materials” and is designed to provide the
process and procedures for parents/guardians of the school community to challenge controversial
materials. Just below Policy 3405 in the District’s Policy Manual is Regulation 3405-R, relating to
an individual’s right to file a complaint pursuant to the Rule. Consistent with the Rule’s requirement
to specifically notify individuals of the right to file complaints under the rule, the District’s policy
and regulation expressly state:

           “[a]ny individual who has witnessed or experienced the violation of Oklahoma
           Statute Title 70, § 24-157 or Oklahoma Administrative Code 210:10-1-23 and
           wishes to file a complaint with the District must do so by contacting the Executive
           Direct of Student and Family Services at HB1775complaints@tulsaschools.org or
           may also be reached at 918-746-6287.

As such, the State Department hereby finds the District has complied with the Rule’s requirement for
a public school to adopt policies and procedures for the filing of a complaint and providing
notification to individuals regarding an alleged violation of House Bill 1775 and/or the Emergency
Rules.

        Turning to the second allegation in the Complaint, it is alleged that you, as an employee of
Tulsa Public Schools, were told that you must complete a mandatory set of compliance courses, one
of which had content in violation of the Statute. The Statute prohibits any teacher, employee of a
public school or the public school from providing the following concept(s) as a part of any course:

           1. one race or sex is inherently superior to another race or sex;
           2. an individual, by virtue of his or her race or sex, is inherently racist, sexist or
              oppressive, whether consciously or unconsciously;
           3. an individual should be discriminated against or receive adverse treatment solely or
              partly because of his or her race or sex;
           4. members of one race or sex cannot and should not attempt to treat others without respect
              to race or sex;
           5. an individual’s moral character is necessarily determined by his or her race or sex;
           6. an individual, by virtue of his or her race or sex, bears responsibility for actions
              committed in the past by other members of the same race or sex;
           7. any individual should feel discomfort, guilt, anguish or any other form of psychological
              distress on account of his or her race or sex; or
           8. meritocracy or traits such as a hard work ethic are racist or sexist or were created by
              members of a particular race to oppress members of another race.



1
    https://resources.finalsite.net/images/v1631211115/tulsaschoolsorg/v6iwmqx6kvyrx0ocpixr/PolicyManual2021.pdf
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Additionally, the Rule prohibits the District from providing a mandatory training that includes,
incorporates or is based on the outlawed concepts in the Statute. OAC 210:10-1-23(d)(7).

        With these provisions in mind, the OSDE reviewed the images of the training provided with
the Complaint, as well as information provided by the District. In addition, following the OSDE’s
review of that information, the OSDE requested access – and was provided access – to the course,
which was entitled “Cultural Competence and Racial Bias.” Upon reviewing this information, the
OSDE did not find any evidence to substantiate the allegation that the training included “statements
that specifically shame white people for past offenses in history, and state that all are implicitly
racially biased in nature.” In fact, upon only reviewing the slides (without audio), the OSDE
concluded there was no violation of the Statute and its proscription on the identified concepts being
a part of any course. However, the audio provided in conjunction with the training did evidence the
following:

       1. societal systems, including public schools, were originally solely developed by the
          majority, who were then predominantly White, middle-class individuals;
       2. demographics are changing and we can expect to be interacting with students of varying
          cultures, ethnicities and backgrounds such that we need to be aware of our own inherent
          biases, as well as historical biases against minorities;
       3. deeply rooted stereotypes, built over time and by history and culture, can still be found in
          classrooms. These can turn into implicit bias and can eventually lead to discrimination if
          unchecked;
       4. statistics demonstrate that while just 18% of preschool students were Black in 2015, they
          accounted for 42% of the out-of-school suspensions, that Black students were suspended
          three times more than White students, that Black students with disabilities are more likely
          to be suspended or restrained, and that teachers hold lower expectations (explicitly or
          implicitly) for Black and Latino children as compared to White peers;
       5. while progress has been made toward racial equality, more supports are needed to adapt
          to changing classrooms, including a need to examine implicit biases, how societal and
          systemic systems are biased against minority students; and
       6. the goal of the course is to provide an overview of racial bias, including a discussion of
          understanding racial bias and strategies to develop cultural competence.

        In light of this information, the OSDE has concluded that the training included, incorporated
or is based on the outlawed concepts in the Statute, specifically the following:

       1. an individual, by virtue of his or her race or sex, is inherently racist, sexist or
          oppressive, whether consciously or unconsciously;
       2. an individual, by virtue of his or her race or sex, bears responsibility for actions
          committed in the past by other members of the same race or sex; and/or,
       3. any individual should feel discomfort, guilt, anguish or any other form of psychological
          distress on account of his or her race or sex.

To be clear, while there may not be express statements that an individual is inherently racist because
of their race, consciously or unconsciously, there is evidence making it more likely than not that the
training incorporated and/or or is based on such concepts. Similarly, whereas there was not explicit
content that an individual, because of their race, is responsible for actions in the past, evidence

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provided makes it more likely than not that the training is based on or incorporates that responsibility.
Finally, though there were not direct statements in the training that an individual should feel
discomfort or guilt because of their race, the design and basis of the training makes it more likely
than not that it incorporates and/or is based on such a concept. Based on these determinations and a
finding of non-compliance with the Statute and the Rule, the OSDE will recommend that the State
Board adjust the District’s accreditation status to “Accredited with Deficiency.” OAC 210:10-1-
23(h); 210:35-3-201; 70 O.S. § 3-104.4.

        This concludes the OSDE’s review of the Complaint. This review reflects the OSDE’s
determination in an individual case and should not be interpreted to address the District’s compliance
with any other statute or regulatory provision(s), or any matter other than those addressed herein.
Under the Oklahoma Open Records Act, it may be necessary to release this document and related
correspondence and records upon request. If the OSDE receives such a request, it will seek to protect,
to the extent allowed by law, personally identifiable information which, if released, could reasonably
be expected to constitute an unwarranted invasion of personal privacy. Further, the OSDE will seek
to protect, to the extent allowed by law, information that may be subject to federal copyright law or
otherwise protected intellectual property.

         Should you have anyquestions or wish to further discuss anything, please do not hesitate to
 contact me.


                                                                Sincerely,



                                                                Brad S. Clark
                                                                General Counsel


Cc: Tulsa Public Schools, c/o Jana Burk, General Counsel
       burkja@tulsaschools.org
    State Board of Education, c/o Travis Jett, General Counsel
       travis@hodgdenlaw.com

Enclosures (3)




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                                                                    Title 70. Schools
     Oklahoma Statutes Citationized
       Title 70. Schools
       Chapter 1 - School Code of 1971
         Article Article XXIV - Miscellaneous Provisions
         Section 24-157 - Prohibition of Mandatory Gender or Sexual Diversity Training or Counseling - Prohibited Course
Concept        Rule
Cite as: 70 O.S. § 24-157 (OSCN 2022)


A. 1. No enrolled student of an institution of higher education within The Oklahoma State System of Higher Education shall be required
to engage in any form of mandatory gender or sexual diversity training or counseling; provided, voluntary counseling shall not be
prohibited. Any orientation or requirement that presents any form of race or sex stereotyping or a bias on the basis of race or sex shall
be prohibited.

2 Pur uant to the provi ion of the Admini trative Procedure Act, the Oklahoma State Regent for Higher Education hall promulgate
rule , ubject to approval by the Legi lature, to implement the provi ion of thi         ub ection

B. The provisions of this subsection shall not prohibit the teaching of concepts that align to the Oklahoma Academic Standards.

1 No teacher, admini trator or other employee of a chool di trict, charter chool or virtual charter chool hall require or make part of
a cour e the following concept

a. one race or sex is inherently superior to another race or sex,

b an individual, by virtue of hi or her race or e , i inherently raci t, e i t or oppre       ive, whether con ciou ly or uncon ciou ly,

c. an individual should be discriminated against or receive adverse treatment solely or partly because of his or her race or sex,

d member of one race or e cannot and hould not attempt to treat other without re pect to race or e ,

e. an individual’s moral character is necessarily determined by his or her race or sex,

f an individual, by virtue of hi or her race or e , bear re pon ibility for action committed in the pa t by other member of the ame
race or e ,

g. any individual should feel discomfort, guilt, anguish or any other form of psychological distress on account of his or her race or sex,
or

h meritocracy or trait       uch a a hard work ethic are raci t or e i t or were created by member of a particular race to oppre
member of another race

2. The State Board of Education shall promulgate rules, subject to approval by the Legislature, to implement the provisions of this
subsection.

Historical Data

Law 2021, HB 1775, c 426,               1, emerg eff July 1, 2021

Citationizer© Summary of Documents Citing This Document

Cite          Name Level

None Found.

Citationizer: Table of Authority
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              TITLE 210. STATE DEPARTMENT OF EDUCATION
   CHAPTER 10. SCHOOL ADMINISTRATION AND INSTRUCTIONAL SERVICES

  PURSUANT TO THE ACTIONS DESCRIBED HEREIN, THE FOLLOWING EMERGENCY
 RULES ARE CONSIDERED PROMULGATED AND EFFECTIVE UPON APPROVAL BY THE
             GOVERNOR AS SET FORTH IN 75 O.S., SECTION 253(F):

                         SUBCHAPTER 1. GENERAL PROVISIONS

210:10-1-23. Prohibition of race and sex discrimination
(a)    Purpose. It shall be the policy of the Oklahoma State Board of Education to prohibit
discrimination on the basis of race or sex in the form of bias, stereotyping, scapegoating,
classification, or the categorical assignment of traits, morals, values, or characteristics based
solely on race or sex. Public schools in this state shall be prohibited from engaging in race or
sex-based discriminatory acts by utilizing these methods, which result in treating individuals
differently on the basis of race or sex or the creation of a hostile environment.
(b)    General.
       (1)      Definitions.
                (A)     “Public School” means the board of education of a school district, charter
                school, virtual charter school or otherwise accredited school, as defined and
                provided for in 70 O.S. § 1-108, 70 O.S. § 3-132, 70 O.S. § 3-145.3 and 70 O.S. §
                3-104, respectively.
                (B)     “Course” means any forum where instruction or activities tied to the
                instruction are provided, including courses, training, seminars, professional
                development, lectures, sessions, coaching, tutoring, or any other class.
                (C)     “Teacher” means the same as it is defined in 70 O.S. § 1-116.
       (2)       Applicability. As expressly set forth in 24 O.S. § 24-157(B), this rule shall
       apply to any Teacher, administrator or other employee of a Public School.
       (3)       Nondiscrimination. Nothing in this rule shall be intended to prohibit a Public
       School from employing lawful methods to address discrimination consistent with the
       requirements of the Equal Protection Clause of the Fourteenth Amendment, Title VI of
       the Civil Rights Act of 1964 (“Title VI”), Title IX of the Education Amendments of
       1972 (“Title IX”), and 70 O.S. § 24-157. Further, nothing in this rule shall interfere or
       impair a Public School under a court order of desegregation.
       (4)       Severability. If any specific provision of this rule or its application to any
       person or Public School is held invalid, the remainder of the rule or the application of its
       provisions to any school, person, practice or entity shall not be affected.
       (5)       Instruction. Nothing in this rule shall be construed to prevent the teaching of
       history, social studies, English language arts, biology or any other subject matter area
       consistent with the Oklahoma Academic Standards as adopted and approved by the State
       Board of Education and approved by the Oklahoma Legislature.
       (6)       Title IX of the Education Amendments of 1972. Nothing in this rule shall be
       interpreted to prohibit the lawful consideration of sex, as authorized by Title IX, which
       permits distinctions and/or classifications based on sex in specific circumstances. This
       includes but is not limited to the provision of single-sex programs, the establishment of
       separate sex facilities (bathrooms and locker rooms) or sex-specific athletic teams,
       consistent with the requirements of Title IX and its implementing regulations at 34
       C.F.R. Part 106.

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(c)     General Prohibition. No teacher, administrator or other school employee shall require
or make part of any Course offered in a public school the following discriminatory principles:
        (1)      One race or sex is inherently superior to another race or sex,
        (2)      An individual, by virtue of his or her race or sex, is inherently racist, sexist or
        oppressive, whether consciously or unconsciously,
        (3)      An individual should be discriminated against or receive adverse treatment solely
        or partly because of his or her race or sex,
        (4)      Members of one race or sex cannot and should not attempt to treat others without
        respect to race or sex,
        (5)      An individual’s moral character is necessarily determined by his or her race or
        sex,
        (6)      An individual, by virtue of his or her race or sex, bears responsibility for actions
        committed in the past by other members of the same race or sex,
        (7)      Any individual should feel discomfort, guilt, anguish or any other form of
        psychological distress on account of his or her race or sex, or
        (8)      Meritocracy or traits such as a hard work ethic are racist or sexist or were created
        by members of a particular race to oppress members of another race.
(d)     Specific Prohibitions Ensuring Compliance. To ensure compliance with 70 O.S. § 24-
157(B) and to not discriminate on the basis of race or sex, as a part of any Course or activities,
the following requirements shall apply to Public Schools, any Teacher, administrator, other
employee, or other individual, group or representative of a Public School:
        (1)     Public schools in this state shall be prohibited from providing, contracting to
        provide, offering or sponsoring any Course(s), as defined in subsection (b)(1)(B), that
        includes, incorporates, or is based on discriminatory practices identified in section (c).
        (2)     Public schools in this state shall be prohibited from using any monies, property,
        or any other assets or resources to engage in race or sex-based discrimination, including
        discriminatory practices identified in section (c).
        (3)     Public schools in this state shall be prohibited from adopting programs or utilizing
        textbooks, instructional materials, curriculum, classroom assignments, orientation,
        interventions, or counseling that include, incorporate or are based on the discriminatory
        concepts identified in subsection (c).
        (4)     Public schools in this state shall be prohibited from executing contracts or
        agreements with internal or external entities, persons, companies or businesses to provide
        services, training, professional development, or any other assistance that includes,
        incorporates or is based on discriminatory practices identified in section (c). Within sixty
        (60) days of the approval of this rule, existing contracts or agreements executed by public
        schools that conflict with this requirement shall be amended to come into compliance
        with this section. Contracts or agreements executed solely to provide services prohibited
        by 70 O.S. § 24-157(B) or sections (c) or (d) of this rule shall be cancelled or terminated,
        consistent with the terms of the contract and applicable law.
        (5)     Public schools in this state shall be prohibited from receiving or applying to
        receive any monies that require, as a condition of receipt, the adoption of a Course(s),
        policies, curriculum, or any other instructional material that includes, incorporates or is
        based on discriminatory practices identified in subsection (c).
        (6)     Public schools in this state shall be prohibited from adopting diversity, equity, or
        inclusion plans that incorporate the concepts identified in subsection (c). Diversity
        officers in public schools shall be prohibited from providing any service or performing
        duties that include, incorporate, or are based on discriminatory practices identified in

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        subsection (c).
        (7)     Public schools shall be prohibited from mandating diversity training that includes,
        incorporates or is based on discriminatory practices identified in subsection (c). This
        includes providing such training to employees, contractors, staff members, parents,
        students, or any other individual or group.
        (8)     Public schools in this state shall be prohibited from adopting policies, including
        grading or admissions policies, or providing any other benefit or service that applies to
        students or any school employee differently on the basis of race or sex, unless
        specifically permitted by Title IX. (See (b)(6)). This prohibition includes segregated
        classes, programs, training sessions, extracurricular activities, or affinity groups unless
        otherwise permitted by Title IX. (See (b)(6)).
(e)     Parents Rights. Parents and legal guardians of students enrolled in Public Schools in this
state shall have the right to inspect curriculum, instructional materials, classroom assignments, and
lesson plans to ensure compliance with 70 O.S. § 24-157(B). Consistent with 25 O.S. § 2002, no
public school shall interfere with or infringe upon the fundamental rights of parents to determine
their child’s education.
(f)     State Department of Education and State Board of Education. To ensure the
compliance with the requirements of 70 O.S. § 24-157(B), as a part of any Course, the following
requirements shall apply to the State Board of Education and the State Department of Education,
respectively:
        (1)     The State Board of Education shall be prohibited from mandating state standards or
        promulgating any rule that is based on, includes or incorporates discriminatory concepts of
        race or sex-based discrimination, including concepts identified in section (c).
        (2)     The State Department of Education shall be prohibited from providing resources,
        instructional support, courses, training, seminars, professional development, or any other
        class to public schools that is based on, includes or incorporates discriminatory concepts
        identified in section (c). This prohibition includes executing contracts or agreements with
        external entities, persons, companies or businesses to provide services, training,
        professional development, or any other assistance that includes, incorporates or is based on
        discriminatory practices identified in section (c) to public schools under the supervision of
        the Oklahoma State Board of Education and State Department of Education.
        (3)     The State Department of Education shall be prohibited from receiving or applying
        to receive any monies that require, as a condition of receipt, the adoption of programs,
        policies, curriculum, or any other instructional material that includes, incorporates or is
        based on discriminatory practices identified in subsection (c).
(g)     Public School Policies and Investigations. To ensure compliance, public schools shall be
required to adopt policies and procedures, including incorporating into employee and student
handbooks, the requirements of 70 O.S. § 24-157(B) and this rule. A public school’s policy
developed pursuant to this section must specifically notify individuals of the right to file
complaints under subsections (g) of this rule. Public schools shall ensure that the parent or legal
guardian of all students enrolled in the school are annually notified of the non-discrimination
requirements in 70 O.S. § 24-157(B) and this rule.
        (1)     Public schools shall be required to develop a process for students, parents, teachers,
        school staff, and members of the public to file a complaint alleging a violation of the
        provisions of 70 O.S. § 24-157 or this rule. In order for a complaint to be accepted for
        investigation, it must:
                (A)     Be submitted in writing, signed and dated by the complainant, including
                complaints submitted through electronic mail that include electronic signatures;

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                (B)     Identify the dates the alleged discriminatory act occurred;
                (C)     Explain the alleged violation and/or discriminatory conduct and how 70 O.S.
                § 24-157 or the provisions of this rule have been violated;
                (D)     Include relevant information that would enable a public school to investigate
                the alleged violation; and
                (E)     Identify witnesses the school may interview, if applicable, provided the
                school will not dismiss a complaint for failure to identify witnesses.
        (2)     Public schools shall be required to designate at least one employee to receive
        reports of violations filed by students, parents, teachers, school staff, or members of the
        public. Public schools shall identify the employee(s) responsible for receiving complaints in
        policies and materials published pursuant to section (g).
                (A)     The contact information of employee(s) responsible for receiving
                complaints, including telephone and e-mail, shall be included in the policies and
                materials adopted pursuant to section (g) and shall be made publicly available on
                the public school’s website.
                (B)     The employee(s) responsible for receiving complaints pursuant to this
                section shall notify the complainant that the complaint has been received and
                whether it will be investigated within ten (10) days of receipt.
        (3)     Public schools shall be required to investigate all legally sufficient complaints that
        meet the requirements of subsection (g)(1) and make a determination as to whether a
        violation occurred. A public school must conclude the investigation of a complaint filed
        pursuant to subsection (g)(1) within ninety (90) days of receipt.
                (A)     A complainant shall be notified in writing of a final determination, including
                the public school’s findings of whether a violation occurred.
                (B)     It is permissible for a public school to receive, process, and investigate
                complaints filed under this subsection in the same manner in which the public
                school processes and investigates all other complaints of discrimination, provided
                the public school notifies a complainant pursuant to subsection (g)(2)(B), reaches a
                final determination in the investigation within ninety (90) days of receipt of the
                complaint pursuant to subsection (g)(3) of this rule and complies with (g)(3)(A).
        (4)     A complainant may file a complaint alleging a violation of 70 O.S. § 24-157 or this
        rule directly with a public school pursuant to subsection (g)(1) of this rule or may file a
        complaint directly with the State Department of Education pursuant to subsection (h)(2) of
        this rule provided:
                (A)     A complainant may not file complaints simultaneously with a public school
                and the State Department of Education;
                (B)     The State Department of Education may not require a complainant to first
                file with a public school prior to seeking relief pursuant to (h)(2); and
                (C)     Any complainant who believes that a public school has incorrectly refused
                to investigate a complaint or has evidence that a public school has reached an
                incorrect determination may subsequently file a complaint with the State
                Department of Education pursuant to subsection (h)(2) of this rule.
(h)     Accreditation. Consistent with State Board of Education’s authority under 70 O.S. § 3-
104.4 (I)(5), public schools in this state shall be evaluated annually to ensure compliance with 70
O.S. § 24-157(B) and the requirements of this rule.
        (1)     Public School Application for Annual Accreditation. Consistent with the
        provisions and requirements of OAC 210:35-3-201, a school’s failure to comply with 70
        O.S. § 24-157(B) or any requirement in this rule shall, at a minimum, result in the

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        accreditation status of the public school being classified “Accredited With Deficiency.” The
        public school shall have one school year to correct deficiencies.
                 (A)      A public school that fails to correct deficiencies after being classified as
                 “Accredited With Deficiency” for violations of 70 O.S. § 24-157(B) or any
                 requirement in this rule shall be classified, at a minimum, “Accredited With
                 Probation” in the second year of noncompliance for “deliberately and unnecessarily
                 violating one or more regulations.” (See OAC 210: 35-3-201(b)(4)C)). The public
                 school shall have one school year to correct deficiencies.
                 (B)      A public school that fails to correct deficiencies after being classified as
                 “Accredited With Probation” for violations of 70 O.S. § 24-157(B) or any
                 requirement in this rule shall be classified “Nonaccredited” in the third year of
                 noncompliance consistent with Oklahoma statutes and the State Board of
                 Education’s administrative rules, processes and procedures. (See OAC 210: 35-3-
                 201).
        (2)      Investigation and Immediate Action. Consistent with the requirements of 70 O.S.
        § 3-104.4, the Department shall investigate any complaint of any failure to comply with
        accreditation standards, including compliance with 70 O.S. § 24-157(B) or any requirement
        in this rule. If the Department determines that a public school has failed to comply with the
        accreditation standards, including this rule, the Department shall report the information to
        the State Board for further action, and within the timeline, provided in 70 O.S. § 3-104.4.
(i)     Public Reporting. Public School employee(s) designated pursuant to subsection (g)(2)
shall be required to report for each complaint filed pursuant to subsection (g)(1) to the State
Department of Education within thirty (30) days of resolution of the complaint. The State
Department of Education shall report quarterly to the State Board of Education on complaints filed
pursuant to subsection (f), including:
        (1)      The number of complaints filed with Public Schools;
        (2)      The number of complaints dismissed or not investigated;
        (3)      The number of complaints opened for investigation;
        (4)      The number of cases where, following a full investigation, the Public School
        determined that a violation occurred; and
        (5)      The number of cases where, following a full investigation, the Public School
        determined no violation occurred.
        (6)      The number of cases where, following a full investigation, the State Department of
        Education has determined that a violation occurred or did not occur.
(j)     Suspension or Revocation. Consistent with OAC 210:1-5-6 and subsection
(b)(1)(C), the provisions of this rule shall apply to superintendents of schools, principals,
supervisors, librarians, school, classroom teachers or other personnel performing
instructional, administrative and supervisory services in the public schools.
        (1)      Suspension. As a part of its investigation of a legally sufficient complaint filed
        pursuant to subsection (g), the State Department of Education shall make a determination of
        whether to initiate proceedings to suspend the license or certificate of any school employee
        who is found to have violated 70 O.S. § 24-157(B) or any provision of this rule, consistent
        with the State Board’s processes and procedures for suspension of certificates.
        (2)      Grounds for Revocation. Consistent with OAC 210:1-5-6, subsection (b), the State
        Board of Education shall initiate proceedings to revoke the license or certificate of any
        school employee for “willful violation” of 70 O.S. § 24-157(B) or any requirement in this
        rule. (See OAC 210: 1-5-6(b)(1) - (b)(2)). The requirements and processes outlined in OAC
        210:1-5-6, including the rights afforded to certificate holders, shall apply to all revocation

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        proceedings.
(k)     Retaliation. Consistent with the provisions of Title VI and Title IX, no individual shall
be retaliated against for: 1) filing a complaint pursuant to subsections (g)(1) or (h)(2) of this
rule; or 2) the purpose of interfering with any right or privilege secured by federal civil rights
laws and regulations. Any school employee who retaliates against a complainant shall be
subject to disciplinary action pursuant to subsection (j) of this rule.
(l)     Whistleblower Protection. Any Teacher who files a complaint pursuant to subsection
(g)(1) or (h)(2) of this rule or otherwise discloses information the teacher reasonably believes
evidences a violation of 70 O.S. § 24-157(B) or this rule shall be entitled to the Whistleblower
Protections in applicable laws, including those at 70 O.S. § 6-101.6b.
(m)     False Reporting. Any Teacher or other school employee who, willfully, knowingly and
without probable cause makes a false report pursuant to subsection (g)(1) or (h)(2) of this rule may
be subject to proceedings pursuant to subsection (j) of this rule.
(n)     Complaints by School Staff. Any school employee who is discriminated against by a
public school in the form of race or sex based harassment, bias, stereotyping, scapegoating,
classification, or the categorical assignment of traits, morals, values, or characteristics based solely
on race or sex in violation 70 O.S. § 24-157(B), may file an employment discrimination complaint
with the Oklahoma Attorney General’s Office of Civil Rights Enforcement pursuant to 25 O.S. §
1101, et seq.
(o)     Relief. Title VI and Title IX may be enforced by private right of action, whereby aggrieved
parties may seek relief, including monetary damages, for violations of federal antidiscrimination
laws. Victims of discrimination may file a lawsuit directly against the Public School. In addition to
any private rights of action, aggrieved parties may seek applicable remedies through the U.S.
Department of Education’s Office for Civil Rights or the U.S. Department of Justice’s Civil Rights
Division.




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